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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9    Shawn Jensen,                                     No. CV-12-00601-PHX-ROS
10                   Plaintiff,                         ORDER
11    v.
12    Ryan Thornell,
13                   Defendant.
14
15          On April 16, 2025, the Court set a hearing on the Motion for a Receiver for July 16,
16    2025 at 1:00 p.m., ordered the Monitors to prepare a comprehensive report addressing
17    material issues concerning the Motion for a Receiver to be filed on June 16, 2025, and for
18    the parties to file simultaneous responses to the report on or before June 30, 2025. (Doc.
19    4868). The Monitors have informed the Court additional time will be needed to complete
20    their comprehensive report. This request will be granted, the time for parties to file
21    responses to the report will be extended, and the date of the hearing will be moved to
22    August 6, 2025 at 1:30 p.m.
23          IT IS ORDERED the Monitors’ comprehensive report on the Motion for a
24    Receiver shall be filed on or before July 16, 2025.
25          IT IS FURTHER ORDERED the parties shall file simultaneous responses to the
26    Monitors’ July 16, 2025 report on or before July 30, 2025.
27          IT IS FURTHER ORDERED the hearing set for July 16, 2025 at 1:00 p.m. is
28    VACATED.
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 1          IT IS FURTHER ORDERED setting a hearing on the Motion for a Receiver
 2    August 6, 2025 at 1:30 p.m.
 3          Dated this 16th day of June, 2025.
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 6                                                      Honorable Roslyn O. Silver
 7                                                      Senior United States District Judge

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